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                  EXHIBIT B
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DONTZIN NAGY & FLEISSIG LLP                                                               Tibor L. Nagy, Jr.
                                                                                          tibor@dnfllp.com
 980 Madison Avenue | New York, New York 10075 | (212) 717 - 2900




   BY EMAIL                                                                      February 20, 2023

   Jeremy E. Kirschner, CPA, CGMA
   Samuel S. Adelsberg & Co
   280 Northern Boulevard
   Great Neck, NY 11021
   jeremyk@adelsberg.com

            Re: Demand for Preservation of Documents

   Dear Mr. Kirschner,

           We represent JPMorgan Chase Bank, N.A. (“JPMC”). As you may know, your client,
   Charlie Javice, is currently involved in litigation against JPMC, including in the action filed by
   JPMC in U.S. District Court for the District of Delaware, JPMorgan Chase Bank, N.A. v.
   Charlie Javice et al., No. 22 Civ. 1621. In connection with this litigation, Ms. Javice has a
   duty to preserve relevant evidence. It has come to our attention that you may also have
   documents, communications, and other records relevant to JPMC’s disputes with Ms. Javice
   within your possession, custody, or control. Such potentially relevant materials may include,
   but are not limited to, each of the following categories of records:

        1. Documents relevant to funds paid by JPMC to Ms. Javice, and to trusts created on her
           behalf (the “Trusts”), as consideration for JPMC’s acquisition of TAPD, Inc. d/b/a
           Frank (“Frank”) in September 2021(the “Merger Proceeds”);
        2. Documents relevant to business entities with which Ms. Javice may be affiliated that
           were created after September 2021, including but not limited to Chariot Holdings X
           LLC (“Chariot X”), Chariot Holdings I LLC, and Chariot Holdings II LLC;
        3. Documents relevant to (i) the transfer, if any, of Merger Proceeds from Ms. Javice’s
           personal accounts or from the Trusts to any other entities, including, e.g., Chariot X, to
           other individuals, or to overseas accounts for Ms. Javice, and (ii) subsequent transfers,
           if any, of Merger Proceeds away from or between such entities or accounts;
        4. Documents relevant to the conversion of Merger Proceeds, if any, into other assets, e.g.,
           cryptocurrency or real estate; and
        5. Tax returns and supporting workpapers or documents reflecting any of the foregoing
           categories of evidence.

           JPMC hereby demands that you take all reasonable steps to preserve all potentially
   relevant information that is in or may come into your custody and control, including personal
   files, handwritten notes, calendars, electronic files, articles of incorporation, minutes,
   transaction records, wire instructions or confirmations, account statements, copies of deposited
   or canceled checks, electronic messages, text messages, instant messages, drafts, memoranda,
   notes, data, correspondence, analyses, charts, reports, plans, and e­mails, whether maintained
   in hard copy or electronic form and whether stored on your work computer or other electronic
   devices, your personal/home computer, telephone or other electronic devices, work or personal
   e-mail, and work or personal file storage services. Further, normal records destruction
   practices, including those triggered automatically by date or age of documents or electronic
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Mr. Jeremy Kirschner                                                            February 20, 2023


files, should be suspended for all potentially relevant information, including any auto-delete or
similar setting on any mobile device. This demand also pertains to documents that have been
shipped to off-site storage.
                                               ***

      Please reply to this letter and confirm that you will comply with the requests above.
We look forward to your prompt response.


                                                      Sincerely,




                                                      Tibor L. Nagy, Jr.

cc:     Alex Spiro, Esq.




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                  EXHIBIT C
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                  EXHIBIT D
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                                                                       www.hoganlovells.com



March 16, 2023

Via E-mail

Alex Spiro, Esq.
Quinn Emanuel Urquhart & Sullivan, LLP
51 Madison Avenue
New York, NY 10010
alexsprio@quinnemanuel.com

    Re:    Demand for Preservation of Documents

Dear Mr. Spiro:

        We write on behalf of JPMorgan Chase Bank, N.A. (“JPMC”) in response to your letter,
dated March 13, 2023 (the “March 13 Letter”). As explained below, the March 13 Letter does
not allay the concerns JPMC expressed in its letter dated February 14, 2023 (the “February 14
Letter”).

         As a preliminary matter, it is concerning that it took Ms. Javice over 30 days to respond
to JPMC’s letter, given that the March 13 Letter contains only conclusory assertions. More
critically, however, the March 13 Letter fails to address a number of issues raised by JPMC.

        First, Ms. Javice has provided no information whatsoever regarding Chariot X Holdings,
LLC, the Nevada shell company to which Ms. Javice has transferred a large portion of the
Merger Proceeds.1 Your letter incorrectly asserts that Ms. Javice transferred her assets because
JPMC terminated its banking relationship with Ms. Javice. Not so. The questionable transfers to
Chariot X Holdings occurred between September and December 2022, long before JPMC took
any action with respect to its banking relationship with Ms. Javice. Moreover, if Ms. Javice has
simply transferred her assets to accounts in her name at another reputable banking institution,
JPMC would not have the same concerns. What Ms. Javice did, however, was establish a
Nevada limited liability company with no apparent business purpose and then transfer nearly
million dollars to that entity, directly undermining your assertion that her transfers do not suggest
misconduct or an attempt to shield assets from litigation recovery. Further amplifying JPMC’s
concerns is that the transfers to Chariot X Holdings were to Signature Bank, which the FDIC has
since seized.




1
        Capitalized terms not defined in this letter shall have the meaning attributed to them in the February
14 Letter.
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March 16, 2023
Alex Spiro, Esq.
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        Ms. Javice’s behavior raises red flags about fraudulent conveyances to Chariot X
Holdings that are not addressed in the March 13 Letter. Nor does the March 13 Letter provide
any of the representations that JPMC requested. See Feb. 14 Letter at 2-3 (listing items 1-5).2

        Second, the conclusory assertion that “Ms. Javice is aware of, has complied with, and
will continue to comply with the ongoing duty to preserve, including with respect to data from
her Twitter account” fails to address the fact that Ms. Javice deactivated her Twitter account,
risking destruction of relevant evidence, and only very recently restored it. The March 13 Letter
does not represent that no data was lost in the process of deactivating and restoring the Twitter
account.

       Third, your response regarding Ms. Javice’s access to Frank’s Systems and Applications
is incomplete. It is irrelevant whether Ms. Javice was “the administrative [or] system owner” of
Frank’s Applications and Systems. If Ms. Javice has in her possession, custody, or control any
passwords or other credentials to those Applications and Systems, she must return them to
JPMC. In addition, the March 13 Letter ignores the issue of two-factor authentication. Frank’s
Dropbox account, for example, is tied to Ms. Javice’s email and/or phone number. JPMC does
not have the username and password to that account and cannot reset that password because the
account is controlled by Ms. Javice.

        In light of the foregoing, JPMC intends to make a motion to request a partial lifting of the
discovery stay imposed by the Private Securities Litigation Reform Act of 1995 (“Reform Act”).
In particular, JPMC will seek discovery concerning Ms. Javice’s asset transfers as well as her
preservation of social media and possession of JPMC property. In an effort to avoid motion
practice, please confirm whether Ms. Javice is willing to voluntarily provide this discovery.

       As required by the local rules, our Delaware counsel will be contacting Ms. Javice’s to
meet and confer regarding JPMC’s motion.

                                              Sincerely,




                                              William M. Regan



2
        Your assertion that JPMC has “improperly abused its banking relationship with Ms.
Javice” has no basis in law or fact. Financial institutions are permitted to review transactions
that occur in a depositor’s accounts, and applicable privacy policies allow JPMC to use that
information to enforce or defend legal rights and share that information with third parties to
protect against suspected fraud or protect JPMC’s rights. JPMC has in no way “harassed” Ms.
Javice.
